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AO 245B (Rev. 09/19) (VAE 01/22) Judgment in a Criminal Case
                                 Sheet 1


                                          UNITED STATES DISTRICT COURT
                                              Eastern District of Virginia
                                                  Alexandria Division
              UNITED STATES OF AMERICA                                )     JUDGMENT IN A CRIMINAL CASE
                                                                      )
                                  v.                                  )     Case Number:           1:22-CR-165
                                                                      )
                     HATCHET M. SPEED,                                )     USM Number:      07348-510
                                                                      )     Courtney Dixon, Esq. and Brooke Rupert, Esq.
 aka Speed, Hatchet; Doe, John; Speed, Daniel A                             Defendant's Attorney
                                                                      )
                                                                      )
The defendant was found guilty on Counts 1-3 after a plea of not guilty.
The defendant is adjudged guilty of these offenses:

 Title and Section                     Nature of Offense                                              Offense Ended             Count

 26 U.S.C. §§ 5841,5861(d) and         Unlawful Possession of an Unregistered Firearm                    9/7/2022                  I
 5871

 26 U.S.C. §§ 5841,5861(d) and         Unlawful Possession of an Unregistered Firearm                    9/7/2022                  II
 5871

 26 U.S.C. §§ 5841,5861(d) and         Unlawful Possession of an Unregistered Firearm                    9/7/2022                 III
 5871

   The defendant is sentenced as provided in pages 2 through 7 of this Judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.

    It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay
restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.



                                                                          April 13, 2023
                                                                          Date of Imposition of Judgment


                                                                           __________________________________________________
                                                                          Signature of Judge

                                                                          Michael S. Nachmanoff , United States District Judge
                                                                          Name and Title of Judge

                                                                          April 13, 2023
                                                                          Date
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          Sheet 2 - Imprisonment

Case Number:                   1:22-CR-165
Defendant’s Name:              Speed, Hatchet


                                                               IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of THIRTY-SIX
(36) MONTHS on each count, to be served concurrently.


The court makes the following recommendations to the Bureau of Prisons:

     ☒ The defendant is remanded to the custody of the United States Marshal.

     ☐ The defendant shall surrender to the United States Marshal for this district:

             ☐      at             ☐ a.m. ☐ p.m. on               .

              ☐     as notified by the United States Marshal.

The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

     ☐ before 2 p.m. on                 .

     ☐ as notified by the United States Marshal.

     ☐ as notified by the Probation or Pretrial Services Office.


                                                                 RETURN

I have executed this judgment as follows:

Defendant delivered on                                               to
at                                                               , with a certified copy of this Judgment.



                                                                  ________________________________________
                                                                  UNITED STATES MARSHAL


                                                        By        ________________________________________
                                                                  DEPUTY UNITED STATES MARSHAL
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          Sheet 3 – Supervised Release


Case Number:                   1:22-CR-165
Defendant’s Name:              Speed, Hatchet


                                                         SUPERVISED RELEASE

     Upon release from imprisonment, you will be on supervised release for a term of THREE (3) YEARS on each count.


                                                   MANDATORY CONDITIONS

1.   You must not commit another federal, state or local crime.
2.   You must not unlawfully possess a controlled substance.
3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release
     from imprisonment and at least two periodic drug tests thereafter, as determined by the court.
     ☐ The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future substance
     abuse. (check if applicable)
4.   ☐ You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
     restitution. (check if applicable)
5.   ☐ You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.   ☐ You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.)
     as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
     reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7.   ☐ You must participate in an approved program for domestic violence. (check if applicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the
attached page.
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          Sheet 3 – Supervised Release


Case Number:                   1:22-CR-165
Defendant’s Name:              Speed, Hatchet


                                         STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed
by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.  You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
    release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different
    time frame.
2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
    when you must report to the probation officer, and you must report to the probation officer as instructed.
3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
    the court or the probation officer.
4. You must answer truthfully the questions asked by your probation officer.
5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
    arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If
    notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation
    officer within 72 hours of becoming aware of a change or expected change.
6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation
    officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you
    from doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer
    excuses you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
    responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least
    10 days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
    becoming aware of a change or expected change.
8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
    convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of
    the probation officer.
9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that
    was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or
    tasers).
11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
    without first getting the permission of the court.
12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
    require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
    person and confirm that you have notified the person about the risk.
13. You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov


Defendant's Signature                                                        Date
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          Sheet 3A – Supervised Release

Case Number:                  1:22-CR-165
Defendant’s Name:             Speed, Hatchet


                                     SPECIAL CONDITIONS OF SUPERVISION
     1. The defendant shall provide the probation officer access to any requested financial information.

     2.    The defendant shall undergo a mental health evaluation and, if recommended, shall participate in a program
          approved by the United States Probation Office for mental health treatment. The cost of this program is to be paid
          by the defendant as directed by the probation officer.

     3. The defendant shall waive all right of confidentiality regarding mental health treatment in order to allow the
        release of information to the United States Probation Office and authorize communication between the probation
        officer and the treatment provider.
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          Sheet 5 – Criminal Monetary Penalties

Case Number:                   1:22-CR-165
Defendant’s Name:              Speed, Hatchet


                                              CRIMINAL MONETARY PENALTIES
  The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                                                                                         AVAA                 JVTA
                        Assessment                Restitution       Fine
                                                                                         Assessment*          Assessment**
                                                                    5,000 as to each
  TOTALS            $ 300.00                  $ 0.00            $                      $ 0.00               $ 0.00
                                                                    count
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          Sheet 6 – Schedule of Payments

Case Number:                   1:22-CR-165
Defendant’s Name:              Speed, Hatchet


                                                  SCHEDULE OF PAYMENTS
  Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

  A     ☒      Lump sum payment of $300 due immediately, balance due
               ☐ not later than                         , or
               ☐ in accordance with ☐ C, ☐ D, ☐ E, or ☐ F below; or

  B     ☐      Payment to begin immediately (may be combined with ☐ C, ☐ D, or ☐ F below); or

  C     ☐      Payment in equal            (e.g., weekly, monthly, quarterly) installments of $        over a period of     (e.g., months or
               years), to commence             (e.g., 30 or 60 days) after the date of this judgment; or

  D     ☐      Payment in equal            (e.g., weekly, monthly, quarterly) installments of $      over a period of        (e.g., months or
               years), to commence             (e.g., 30 or 60 days) after release from imprisonment to a term of supervision; or

  E     ☐      Payment during the term of supervised release will commence within        (e.g., 30 or 60 days) after release from
               imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that
               time; or

  F     ☒      Special instructions regarding the payment of criminal monetary penalties:
               Payment for fine can be made upon release from incarceration
Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
due during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of
Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the court.

  ☐     Joint and Several

        Case Number
        Defendant and Co-Defendant Names                                          Joint and Several               Corresponding Payee,
        (including defendant number)                       Total Amount               Amount                          if appropriate




  ☐     The defendant shall pay the cost of prosecution.

  ☐     The defendant shall pay the following court cost(s):

  ☐     The defendant shall forfeit the defendant’s interest in the following property to the United States:


  Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA
  assessment, (5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs,
  including cost of prosecution and court costs.
